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        L.L.C. and NagraStar LLC
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   8                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   9
                                  WESTERN DIVISION
  10
        DISH NETWORK L.L.C. and                      Case No. 2:17-cv-03528-MWF-JPR
  11
        NAGRASTAR LLC,                               DECLARATION OF GREGORY
  12                                                 DUVAL IN SUPPORT OF
                      Plaintiffs,
  13                                                 PLAINTIFFS’ MOTION FOR
               v.                                    DEFAULT JUDGMENT
  14
        PAUL JIMENEZ,
  15
                      Defendant.
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  18          I, Gregory Duval, of Englewood, Colorado declare as follows:

  19          1.     I make this declaration based on personal knowledge and, if called upon

  20    to testify, would testify competently as stated herein.

  21          2.     I am currently employed as Chief Operating Officer with Plaintiff

  22    NagraStar LLC (“NagraStar”), the supplier of the proprietary encryption technology

  23    used by Plaintiffs DISH Network L.L.C.

  24          3.     I became employed by NagraStar in 2005, bringing several years of

  25    experience in the field of conditional access and security solutions for satellite

  26    television systems. Prior to that time, I was employed by NagraStar’s co-founder

  27    and part owner, Nagravision S.A., as the head of engineering and conditional access

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   1    system architect. In that capacity, I acquired a comprehensive understanding of the
   2    conditional access system used by DISH Network.
   3          4.     At NagraStar, I currently supervise several internal departments,
   4    including system security, system support, system testing, architecture, and research
   5    and development. My primary responsibilities with NagraStar, as relevant here, are
   6    the development and deployment of the conditional access system that protects DISH
   7    Network satellite television programming, and leading all anti-piracy operations
   8    pertaining to that security system.
   9    Plaintiffs DISH Network and NagraStar
  10          5.     DISH Network is a multi-channel video provider that delivers video,
  11    audio, and data services to approximately 14 million authorized subscribers in the
  12    United States via a direct broadcast satellite system. DISH Network uses high-
  13    powered satellites to broadcast, among other things, movies, sports, and general
  14    entertainment services (“DISH Network programming”) to consumers who have
  15    been authorized to receive such services after payment of a subscription fee, or in the
  16    case of a pay-per-view movie or event, the purchase price.
  17          6.     DISH Network contracts for and purchases the distribution rights for
  18    most of the programming broadcast on the DISH Network platform from providers
  19    such as network affiliates, pay and specialty broadcasters, cable networks, motion
  20    picture distributors, sports leagues, event promoters, and other holders of
  21    programming rights. The works broadcast on the DISH Network platform are
  22    copyrighted. DISH Network has the authority of the copyright holders to protect the
  23    works from unauthorized reception and viewing.
  24          7.     DISH Network programming is digitized, compressed, and scrambled
  25    before being transmitted to multiple satellites in geo-synchronous orbit above Earth.
  26    The satellites, which have relatively fixed footprints covering the United States and
  27    certain parts of Mexico, Canada and the Caribbean, relay the scrambled signal back
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   1    to Earth where it can be received by DISH Network subscribers that have the
   2    necessary equipment.
   3          8.     A DISH Network satellite television system consists of a compatible
   4    dish antenna, receiver, smart card, television, and cabling to connect the components.
   5    DISH Network provides receivers, satellite dish antenna, and other digital equipment
   6    for the DISH Network satellite television system. Smart cards and other proprietary
   7    security technologies that form a conditional access system are supplied by
   8    NagraStar. Each receiver and smart card is assigned a unique serial number that
   9    DISH Network uses when activating the equipment, and to ensure that the equipment
  10    only decrypts programming the customer is authorized to receive as part of his
  11    subscription package and pay-per-view purchases.
  12          9.     The NagraStar conditional access system performs two interrelated
  13    functions during its ordinary operation: first, subscriber rights management, which
  14    allows DISH Network to “turn on” and “turn off” programming that a customer has
  15    ordered, cancelled, or changed; and second, protection of the control words that
  16    descramble DISH Network’s satellite signal, which in turn prevents unauthorized
  17    access to DISH Network programming.
  18          10.    An integral part of NagraStar’s conditional access system is a smart card
  19    having a secure embedded microprocessor. To put the smart card in context, the
  20    DISH Network receiver processes an incoming DISH Network satellite signal by
  21    locating an encrypted part of the transmission known as the entitlement control
  22    message and then forwards that message to the smart card. Provided the subscriber
  23    is tuned to a channel he is authorized to watch, the smart card uses its decryption keys
  24    to unlock the message, uncovering a control word. The control word is transmitted
  25    back to the receiver in order to decrypt DISH Network’s satellite signal. Together,
  26    the receiver and smart card convert DISH Network’s encrypted satellite signal into
  27    viewable programming that can be displayed on the attached television of an
  28    authorized DISH Network subscriber.

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   1    Piracy of DISH Network Programming
   2          11.     Various devices have appeared on the black market over the years for
   3    the purpose of illegally decrypting or “pirating” DISH Network programming. The
   4    black market in satellite piracy devices represents a multimillion-dollar industry in
   5    the United States.
   6          12.     Several years ago pirates developed a method to circumvent the DISH
   7    Network security system and intercept DISH Network’s satellite broadcasts using so-
   8    called “free-to-air” or “FTA” receivers (hereinafter, “unauthorized receivers”).
   9    Initially, this method of piracy was accomplished by loading software that contained
  10    the proprietary data and keys to the DISH Network security system (hereinafter,
  11    “piracy software”) onto circuit chips in the receiver, so as to mimic a legitimate
  12    NagraStar smart card. Piracy software was made available for free on numerous
  13    websites, and could be loaded to an unauthorized receiver by even a layperson in a
  14    matter of minutes.
  15          13.     The downside of the foregoing method of signal theft is that piracy
  16    software had to be regularly updated to account for and overcome changes in the
  17    DISH Network security system, such as electronic countermeasures transmitted in
  18    the satellite stream. These countermeasures have many effects, one being to change
  19    the decryption keys required to access DISH Network’s control words. As a result,
  20    a new form of piracy has emerged more recently and goes by several names including
  21    “control word sharing,” “Internet key sharing,” or more simply “IKS.”
  22          14.     With IKS, once piracy software is loaded on the unauthorized receiver,
  23    the end user connects the receiver to the Internet through a built-in Ethernet port or
  24    dongle.     The Internet connection serves two piracy-related purposes: first, it
  25    automatically updates piracy software on the unauthorized receiver when the end user
  26    responds “yes” to an on-screen menu prompt; and second, the Internet connection
  27    contacts a computer server which provides the DISH Network control words.
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   1          15.    The computer server, called an “IKS server,” has multiple, subscribed
   2    NagraStar smart cards connected to it, and therefore the ability to provide control
   3    words. Access to an IKS server typically requires a valid passcode. Once access has
   4    been obtained, control words are sent from the IKS server over the Internet to the
   5    unauthorized receiver, where they are used to decrypt DISH Network’s satellite
   6    signal and view programming without paying a subscription fee.
   7          16.    Because IKS is based on the unauthorized distribution of control words
   8    obtained from genuine, subscribed DISH Network receiving equipment, this method
   9    of piracy remains effective after DISH Network’s transition to “Nagra 3,” the latest
  10    generation security technology introduced by NagraStar.
  11          17.    NFusion Private Server (“NFPS”) is a confirmed IKS service. As part
  12    of its anti-piracy investigations, NagraStar purchased a subscription to NFPS and in
  13    return received a 14 digit passcode. By using that passcode in connection with an
  14    unauthorized receiver, NagraStar was able to access the server for the NFPS service.
  15    Upon accessing the NFPS server, NagraStar was provided control words that enabled
  16    it to descramble DISH Network programming using an unauthorized receiver, and
  17    without purchasing a legitimate DISH Network subscription. NFPS only provides
  18    IKS services and have no legitimate aspect of its business.
  19    Satellite Piracy Causes Substantial, Irreparable Harm to Plaintiffs
  20          18.    DISH Network and NagraStar invest millions of dollars each year in
  21    security measures that protect DISH Network programming. The distribution of
  22    products that circumvent these security measures undermines the investment in the
  23    technology and results in the need for costly security updates.
  24          19.    As an example, the IKS method of piracy is used to circumvent the
  25    “Nagra 3” security system most recently introduced by DISH Network, which was
  26    deployed over the course of approximately 18 months at an estimated cost of more
  27    than $100 million. Likewise, electronic countermeasures are continually developed
  28    and released in the DISH Network satellite stream, at significant expense, to prevent

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